Case 3:23-cv-02635-B         Document 24        Filed 01/22/25       Page 1 of 23      PageID 212



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 NORMAN SCOTT GUNN,                              §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §     CIVIL ACTION NO. 3:23-CV-2635-B
                                                 §
 LANE GORMAN TRUBITT, LLC and                    §
 LGT FINANCIAL ADVISORS, LLC,                    §
                                                 §
      Defendants.                                §

                          MEMORANDUM OPINION AND ORDER

         Before the Court is Defendants Lane Gorman Trubitt, LLC (“LGT CPA”) and LGT

Financial Advisors, LLC (“LGT FA”) (collectively, “Defendants”)’s Motion to Dismiss Pursuant to

Rules 12(b)(1) and 12(b)(6) (Doc. 19). For the reasons set forth below, the Court GRANTS IN

PART and DENIES IN PART Defendants’ Motion.

                                                 I.

                                         BACKGROUND

         This is an employment dispute. Plaintiff Norman Scott Gunn started working for LGT FA

in 2009. Doc. 18, Am. Compl., ¶ 15. He began as an investment advisor and later worked in various

management roles and as an income—or “non-equity”—partner of LGT CPA. Id. ¶¶ 15, 17, 23. LGT

FA and LGT CPA share common management, facilities, and owners. Id. ¶ 9.

         Gunn was the only Black employee in management during his time at LGT FA. Id. ¶ 19. He

was also the only partner who was not a certified public accountant (“CPA”). Id. The other partners

“were mostly white and all CPAs.” Id. The company never had more than five Black employees at a

time, and each Black employee did not stay long before leaving or getting fired. Id. ¶ 20.

                                                 -1-
Case 3:23-cv-02635-B          Document 24         Filed 01/22/25       Page 2 of 23       PageID 213



        Gunn did not become an income partner until six years into his tenure, but it took white

principals “significantly less” time to receive such a promotion. Id. ¶ 21. And Gunn was placed on

a one-year probationary period as a partner, while his white counterparts were not. Id. ¶ 23. When

Gunn became an income partner in LGT CPA, 1 he received a ten percent equity interest in LGT

FA. Id. Despite his credentials and experience, Gunn was “often challenged by his supervisors and

peers.” Id. at ¶ 24. As a partner, Gunn needed management approval to hire staff or have a

discretionary budget. Id. ¶ 26. But his white counterparts had authority to use a discretionary budget.

Id.

        In 2019, Gunn proposed buying an additional 40 percent equity interest in LGT FA to LGT

FA’s managing partner, which would increase Gunn’s total interest to 50 percent ownership. Id.

¶¶ 27, 29. Gunn thought he would become an equity partner based on his dealings with the

partnership over the next three years. Id. ¶¶ 30–34. Near the end of 2020, the managing partner

told Gunn that LGT CPA’s policy committee favored his purchase proposal, but all equity partners

would need to vote to approve it. Id. ¶ 31. Gunn and Defendants then exchanged drafts of a

proposed Operating Agreement. Id. ¶¶ 31–32. This Operating Agreement, which governed LGT FA

and Gunn, was more restrictive than the Operating Agreement that governed LGT CPA and its

partners. Id. ¶ 32.

        In January 2021, LGT CPA’s equity partners “tabled” Gunn’s purchase proposal. Id. ¶ 33.

The committee later rejected the proposal in February 2022. Id. ¶ 34.




        1
          Gunn’s Complaint states that he became an income partner in LGT CPA. Id. It is unclear if Gunn
intended to allege that he was an income partner in LGT FA instead, but this does not bear on the Court’s
analysis.

                                                   -2-
Case 3:23-cv-02635-B             Document 24          Filed 01/22/25   Page 3 of 23   PageID 214



       But effective January 2021, Gunn and Defendants had reached a separate agreement for his

compensation to include 50 percent of LGT FA’s net profits. Id. ¶ 47. Gunn did not receive these

payments. Id. ¶ 49.

       During the same timespan, two senior partners of LGT CPA planned to retire and

transferred their LGT FA clients to two white, junior financial advisors with less experience than

Gunn. Id. ¶ 36. Gunn had managed the senior partners’ clients before they were transferred to the

junior advisors. Id. After this, he perceived a change in the attitude of LGT FA staff towards him,

finding them to be hostile and at times insubordinate. Id. ¶ 43.

       In June and July 2022, Gunn expressed concerns to LGT CPA’s managing partners about

how Defendants rejected his proposal to buy more equity in the company and failed to pay him his

50 percent share of LGT FA’s profits. Id. ¶ 38. He also expressed concerns about how the senior

partners transferred their clients “to inexperienced white junior advisors” and how his staff was

treating him. Id. And in his June 2022 meeting, he said “he was being treated differently than his

counterparts.” Id. LGT did not act to address these concerns. Id.

       Defendants fired Gunn in a letter on September 29, 2022. Id. ¶ 45 n.2. 2 In this notice of

termination, Defendants required him to surrender his ten percent ownership of LGT FA for the

price of the amount in Gunn’s capital account, which was zero. Id. ¶ 54. In other words, Gunn

returned his equity without receiving any payment in return. Defendants required him to return his

equity under Article 1 of the Member Agreement, which requires two named partners to surrender

their ownership if the company elected to buy their interests in it. Id. ¶ 52. And even in the years




       2
           He received a subsequent “offer” to resign. Id.

                                                       -3-
Case 3:23-cv-02635-B          Document 24        Filed 01/22/25       Page 4 of 23       PageID 215



before Gunn left the company, Defendants did not pay Gunn his ten percent ownership interest.

Id. ¶¶ 49–50.

       Gunn brings nine claims. In his first and fourth counts, he sues for discrimination, under

Title VII, 42 U.S.C. §§ 2000e et seq, and 42 U.S.C. § 1981. Id. ¶¶ 59–61, 69–71. In his second and

fifth claims, he sues for hostile work environment and harassment, under Title VII and § 1981. Id.

¶¶ 62–64, 72–75. In his third and sixth claims, he sues for retaliation, in violation of Title VII and

§ 1981. Id. ¶¶ 65–68, 76–80. He sues for declaratory judgment in his seventh claim under Federal

Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201 and 2202. Id. ¶¶ 81–84. And in his eighth and

ninth claims, he brings breach of contract actions under Texas law. Id. ¶¶ 85–98. Defendants move

to dismiss each of these claims under Rules 12(b)(1) and 12(b)(6). See Doc. 19, Mot., 2. The Court

considers the Motion below.

                                                  II.

                                       LEGAL STANDARDS

A.     Subject Matter Jurisdiction

       “Federal courts are courts of limited jurisdiction.” Gunn v. Minton, 568 U.S. 251, 256 (2013)

(citation omitted). Courts must therefore “presume that a suit lies outside this limited jurisdiction,

and the burden of establishing federal jurisdiction rests on the party seeking the federal forum.”

Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). A defendant may challenge jurisdiction,

including standing, in a motion to dismiss under Federal Rule of Civil Procedure 12(b)(1). Moore v.

Bryant, 853 F.3d 245, 248 n.2 (5th Cir. 2017). When a defendant seeks dismissal under Rule

12(b)(1), the plaintiff bears the burden of establishing that the Court has jurisdiction to hear the

case. See Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). A court should grant a Rule


                                                  -4-
Case 3:23-cv-02635-B           Document 24         Filed 01/22/25       Page 5 of 23       PageID 216



12(b)(1) dismissal motion “only if it appears certain that the plaintiff cannot prove any set of facts

in support of his claim that would entitle plaintiff to relief.” Id.

B.      Failure to State a Claim

        Under Federal Rule of Civil Procedure 8(a)(2), a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Rule 12(b)(6) authorizes

dismissal of a plaintiff’s complaint for “failure to state a claim upon which relief can be granted.”

FED. R. CIV. P. 12(b)(6). In considering a Rule 12(b)(6) motion to dismiss, “[t]he court accepts all

well-pleaded facts as true, viewing them in the light most favorable to the plaintiff.” In re Katrina

Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (citation omitted). The court will “not look

beyond the face of the pleadings to determine whether relief should be granted based on the alleged

facts.” Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999). “But a court may consider extrinsic

documentary evidence if (1) the document is attached to a defendant’s motion to dismiss, (2) the

document is referred to in the plaintiff’s complaint, and (3) the document is ‘central’ to the plaintiff’s

claim.” Andrade v. Teichroeb, 341 F. Supp. 3d 681, 685 (N.D. Tex. 2018) (Cummings, J.) (citing Collins

v. Morgan Stanley Dean Witter, 224 F.3d 496, 498–99 (5th Cir. 2000)).

        To survive a motion to dismiss, a plaintiff must plead “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. “The plausibility standard is not akin to a ‘probability requirement,’

but it asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting


                                                    -5-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25      Page 6 of 23       PageID 217



Twombly, 550 U.S. at 556). When well-pleaded facts fail to meet this standard, “the complaint has

alleged—but it has not shown—that the pleader is entitled to relief.” Id. at 679 (quotations omitted).

                                                 III.

                                             ANALYSIS

       The Court GRANTS IN PART and DENIES IN PART Defendants’ Motion to Dismiss.

Gunn’s second and third claims for a hostile work environment and retaliation under Title VII are

DISMISSED WITH PREJUDICE. Gunn’s first and fourth claims of racial discrimination and his

fifth claim for hostile work environment under § 1981 are DISMISSED WITHOUT PREJUDICE.

Gunn’s sixth, seventh, eighth, and ninth claims for retaliation under § 1981, declaratory judgment,

and breach of contract survive.

A.     The Court Dismisses Gunn’s Title VII Hostile Work Environment and Retaliation Claims.

       The Court grants Defendants’ Motion to Dismiss Gunn’s Title VII claims for Hostile Work

Environment and Retaliation (his respective second and third claims) and dismisses them with

prejudice. Before a plaintiff files a claim under Title VII, he must file a discrimination charge with

the EEOC. Davis v. Fort Bend Cnty., 893 F.3d 300, 303 (5th Cir. 2018), aff’d sub nom. Fort Bend Cnty.,

Texas v. Davis, 587 U.S. 541 (2019). The exhaustion requirement is not jurisdictional, “but rather a

prudential prerequisite to suit.” Id. at 305. To determine whether a plaintiff’s EEOC charge has

exhausted his Title VII claim, courts “construe the EEOC charge in its broadest reasonable sense

and ask whether the claim can reasonably be expected to grow out of the charge of discrimination.”

Davenport v. Edward D. Jones & Co., L.P., 891 F.3d 162, 167 (5th Cir. 2018) (quotations omitted).

The charge does not require “verbal precision and finesse,” but “a Title VII lawsuit can include only

those allegations that are like or related to those allegations contained in the EEOC charge.” Id. To


                                                  -6-
Case 3:23-cv-02635-B            Document 24          Filed 01/22/25        Page 7 of 23         PageID 218



determine whether a plaintiff exhausted his claims, courts look to the EEOC charge. 3 See, e.g., Byers

v. Dall. Morning News, Inc., 209 F.3d 419, 424 (5th Cir. 2000).

        1.       Gunn Failed to Exhaust His Hostile Work Environment Claim.

        Gunn did not exhaust his Title VII hostile work environment claim. Even construing Gunn’s

charge in its broadest reasonable sense, a hostile work environment claim cannot “reasonably be

expected to grow out of [his] charge of discrimination.” Davenport, 891 F.3d at 167. “A hostile work

environment exists when the workplace is permeated with discriminatory intimidation, ridicule, and

insult that is sufficiently severe or pervasive to alter the conditions of the victim’s employment.”

Johnson v. Halstead, 916 F.3d 410, 417 (5th Cir. 2019) (quotations omitted). “Employees must allege

more than discrete acts of discrimination for their EEOC charge to support a hostile work

environment claim.” Haferbier v. IMER USA, Inc., No. 4:24-CV-00315-P, 2024 WL 3094616, at *4

(N.D. Tex. June 20, 2024) (Pittman, J.) (citing Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 115

(2002)).

        Gunn’s EEOC charge neither explicitly raises a hostile work environment claim nor alleges

facts that would create a reasonable expectation that he would raise such a claim. See Doc. 20-1, Ex.

1. Gunn’s EEOC charge alleges that while he had “exemplary results” and “received very good to

superior evaluations,” he “was terminated because [he] had sought to become an equity partner.” Id.

This allegation does not support a hostile work environment because it simply states alleged grounds

for his termination, rather than allege a pervasive condition that altered Gunn’s employment. See


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          A court considering a motion to dismiss “may consider extrinsic documentary evidence if (1) the
document is attached to a defendant’s motion to dismiss, (2) the document is referred to in the plaintiff’s
complaint, and (3) the document is ‘central’ to the plaintiff’s claim.” Andrade, 341 F. Supp. 3d at 685. Here,
Defendants attach the EEOC charge to their Motion to Dismiss; see Doc. 20-1, Ex. 1; Gunn mentions the
charge in his Complaint; Doc. 18, Am. Compl., ¶ 13; and it is central to his claim because his Title VII claims
depend on the existence and nature of his EEOC charge.

                                                      -7-
Case 3:23-cv-02635-B          Document 24        Filed 01/22/25       Page 8 of 23       PageID 219



Johnson, 916 F.3d at 417. His EEOC charge also alleges that his “white counterparts . . . were

promoted to equity partner . . . while [he] was not,” and that “two retiring partners . . . transferred

their clients’ investment accounts to two . . . white inexperienced financial advisors . . . instead of

[him].” Doc. 20-1, Ex. 1. “These discrete acts are insufficient for a claim of hostile work environment

to reasonably be expected to grow out of the EEOC charge.” Haferbier, 2024 WL 3094616, at *4.

       2.      Gunn Failed to Exhaust His Retaliation Claim.

       Gunn also failed to exhaust his retaliation claim. To bring a Title VII retaliation claim, a

plaintiff must show that “1) [he] engaged in protected activity, 2) [he] suffered an adverse

employment action, and 3) a causal link exists between the protected activity and the adverse

employment action.” Wright v. Union Pac. R.R. Co., 990 F.3d 428, 433 (5th Cir. 2021).

        There is no reasonable expectation that a retaliation claim would arise from Gunn’s EEOC

charge. See Davenport, 891 F.3d at 167. While his charge mentions that he was terminated “in

retaliation for exercising [his] protected rights,” he does not discuss any facts to support this. Doc.

20-1, Ex. 1. The “protected rights” he alleges were seeking “to become an equity partner” and

reporting a possible SEC violation. Id. Neither of these are protected activities under Title VII. See

42 U.S.C. § 12203(a) (prohibiting discrimination because an employee “opposed any act or practice

made unlawful by this chapter,” which does not protect seeking promotions or reporting SEC

violations). Compare LaRocca v. Alvin Indep. Sch. Dist., No. 21-40043, 2022 WL 1001442, at *3 (5th

Cir. Apr. 4, 2022) (finding a plaintiff exhausted her administrative remedies for her retaliation claim

because her EEOC charge alleged she filed a formal grievance for sexual harassment and checked

the “retaliation” box) with Barnes v. Rite-Aid, No. CIV.A. 09-6629, 2010 WL 4553493, at *3 (E.D.

La. Oct. 28, 2010) (finding a plaintiff failed to exhaust his retaliation claim because his charge


                                                  -8-
Case 3:23-cv-02635-B          Document 24         Filed 01/22/25        Page 9 of 23         PageID 220



“contain[ed] no allegations that Plaintiff complained or engaged in any other conduct sufficient to

alert the EEOC to look for retaliation” when it asserted that plaintiff’s manager said some stores

“were not suitable for a young Black man,” that plaintiff was later written up for incidents that were

not his fault, that he refused to sign the write up, and that he was eventually laid off).

        Although Gunn’s Amended Complaint alleges that he complained to Defendants about his

alleged discrimination, he did not exhaust his retaliation claim because he failed to mention it in

his EEOC charge. See Doc. 18, Am. Compl., ¶ 38; see also Chhim v. University of Texas at Austin, 836

F.3d 467, 472 (5th Cir. 2016).

        Therefore, Defendants’ Motion to Dismiss Gunn’s Title VII retaliation and hostile work

environment claims is GRANTED. To the extent the deadline to file an EEOC charge has passed,

these claims are DISMISSED with prejudice, because leave to amend would be futile if Gunn cannot

exhaust his Title VII claims. See Bunker v. Down Chem. Co., 111 F.4th 683, 688 (5th Cir. 2024)

(affirming a dismissal with prejudice when a plaintiff failed to exhaust her administrative remedies

and it was too late to cure the defect).

B.      The Court Dismisses Gunn’s Title VII and § 1981 Discrimination Claims.

        The Court Grants Defendants’ Motion to Dismiss Gunn’s first and fourth claims of racial

discrimination under Title VII and § 1981. “The analysis of discrimination claims under § 1981 is

identical to the analysis of Title VII claims.” Body by Cook, Inc. v. State Farm Mut. Auto. Ins., 869 F.3d

381, 386 (5th Cir. 2024).

        A plaintiff can establish a discrimination claim by showing disparate treatment based on

their protected class. See Cicalese v. Univ. of Tex. Med. Branch, 924 F.3d 762, 766 (5th Cir. 2019). To

survive a Rule 12(b)(6) motion to dismiss, “a plaintiff need not make out a prima facie case of



                                                   -9-
Case 3:23-cv-02635-B          Document 24         Filed 01/22/25        Page 10 of 23        PageID 221



discrimination.” Id. (quoting Raj v. La. State Univ., 714 F.3d 322, 331 (5th Cir. 2013)) (alterations

omitted). Instead, a plaintiff must “plead sufficient facts on all of the ultimate elements of a disparate

treatment claim to make his case plausible.” Chhim, 836 F.3d at 470. The ultimate elements of a

disparate treatment claim are “(1) an adverse employment action, (2) taken against a plaintiff because

of her protected status.” Cicalese, 924 F.3d at 767 (internal quotations omitted). To plead the first

element, a plaintiff need only plausibly allege “discrimination in hiring, firing, compensation, or in

the ‘terms, conditions, or privileges’ of his or her employment.” Hamilton v. Dallas Cnty., 79 F.4th

494, 502–03 (5th Cir. 2023) (quoting 42 U.S.C. § 2000e-2(a)(1)). To plead the second element, the

plaintiff must allege facts that suggest the employer’s actions were based on the plaintiff’s race or

that the employer “treated similarly situated employees of other races . . . more favorably.” Raj, 714

F.3d at 331.

        Gunn does not allege a plausible discrimination claim. Gunn alleges various adverse

employment actions or instances of disparate treatment, but he fails to allege that any instances

occurred because of his race. Gunn argues that he was terminated, which is an adverse employment

action. See Hamilton, 79 4th at 502; Doc. 18, Am. Compl., ¶ 45 n.2; Doc. 20, Def.’s Br., 4. He also

argues that it took him longer to become an income partner than it took his white counterparts and,

once promoted, he “was subject to a one-year probationary period, unlike his white counterparts.

Doc. 18, Am. Compl., ¶¶ 21–23. 4 Furthermore, Gunn alleges that his supervisors and peers

“doubted his abilities and credentials.” Id. ¶ 24. He contends he was not afforded the same level of



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          Defendants argue that any claims alleged before May 31, 2022 are barred under Title VII’s statute
of limitations, but they do not take issue with claims raised under § 1981, so the Court considers such
allegations under Gunn’s § 1981 claim. See Taylor v. Lear Corp., No. 3:16-CV-3341-D, 2017 WL 6209031, at
*2 (N.D. Tex. Dec. 8, 2017) (Fitzwater, J.) (“To obtain a Rule 12(b)(6) dismissal based on an affirmative
defense, the “successful affirmative defense [must] appear[ ] clearly on the face of the pleadings.”).

                                                   -10-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25       Page 11 of 23       PageID 222



authority as other practice leaders, “all of whom were white,” id. ¶ 25, noting he “could not hire staff

or have a discretionary budget without management approval while his white counterparts had

discretionary budget authority.” Id. ¶ 26. And Gunn alleges that document drafts of an Operating

Agreement that would govern Gunn’s ownership of more of LGT FA “were far more restrictive”

than was the LGT CPA Operating Agreement governing Gunn’s counterparts. Doc. 18, Am.

Compl., ¶ 32.

        These allegations are not enough to survive a motion to dismiss because Gunn fails to allege

facts to support that any adverse employment actions or disparate treatment were because of his race.

Cf. Body by Cook, Inc, 869 F.3d at 387. He alleges that his longer promotion timeline “was not based

on any objective criteria, but rather on Defendants’ discriminatory practices that favored white

employees over employees of color,” but alleges no facts to support such practices. Id. ¶ 22.

Furthermore, before any allegations of adverse employment actions, he alleges that he was “the only

partner who was not a certified public accountant (CPA) and there was a constant undertone that

he was not considered an ‘equal’ partner by other partners, who were mostly white and all CPAs.”

Id. ¶ 19. While this may be unfair, this allegation suggests an alternative explanation for unequal

treatment towards him: that he was not a CPA. Finally, an operating agreement governing LGT FA

could reasonably differ from the agreement governing LGT CPA because Gunn concedes that they

are different entities. See generally Doc. 18, Am. Compl.

        Gunn’s remaining allegations “are not specific enough to plead discriminatory intent”

because “[t]hey fail to identify . . . specific instances when” he was treated adversely but a similarly

situated, non-Black employee, was not. See Body by Cook, Inc., 869 F.3d at 387. For example, he

alleges that two retiring partners transferred their clients, whom Gunn had previously helped


                                                  -11-
Case 3:23-cv-02635-B         Document 24        Filed 01/22/25       Page 12 of 23       PageID 223



manage, “to two junior, relatively inexperienced advisors, both of whom were white.” Id. ¶ 36. He

argues that because Defendants allowed this transfer of clients, Defendants’ staff “changed drastically

and became hostile toward” Gunn and “rendered [him] unable to effectively manage LGT FA.” Id.

¶¶ 43–44. These allegations fail because Gunn states no facts about whether the retiring partners

transferred clients whom non-Black employes had managed.

       Gunn also alleges that he was the only Black employee in management during his 14-year

tenure and that there were never more than five Black employees at the same time, and those hired

did not stay long before leaving or getting fired. Id. ¶¶ 19–20. But he does not allege how long other,

non-Black employees continued working for Defendants or how many non-Black employees were in

management.

       Therefore, his discrimination claims fail. See Hendrix v. iQor Inc., No. 3:20-CV-0437-N-BT,

2021 WL 3040776, at *5 (N.D. Tex. June 7, 2021) (Rutherford, M.J.), report and recommendation

adopted, No. 3:20-CV-00437-N-BT, 2021 WL 3036949 (N.D. Tex. July 19, 2021) (Godbey, J.)

(dismissing the plaintiff’s discrimination claim because “she does not identify particular employees

or describe specific situations involving similarly situated non-African American employees, who

were treated more favorably” or “plead any facts indicating that [her employer] terminated her

employment because of her race”). Accordingly, Gunn’s discrimination claims are DISMISSED

without prejudice. See Jacobsen v. Osborne, 133 F.3d 315, 318 (5th Cir. 1998).

C.     The Court Dismisses Gunn’s § 1981 Hostile Work Environment Claim.

       The Court grants Defendants’ Motion to Dismiss Gunn’s fifth claim for hostile work

environment claim under § 1981. To state a claim for a hostile work environment under § 1981,

Gunn must allege:


                                                 -12-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25        Page 13 of 23     PageID 224



        (1) he belongs to a protected group; (2) he was subjected to unwelcome harassment; (3) the
        claimed harassment was based on the protected characteristic; (4) the claimed harassment
        affected a term, condition, or privilege of employment; and (5) the employer knew or should
        have known of the harassment and failed to take prompt remedial action.

Sanchez v. Chevron N. Am. Expl. & Prod. Co., No. 20-30783, 2021 WL 5513509, at *6 (5th Cir. Nov.

24, 2021) (citing Hernandez v. Yellow Transp., Inc., 670 F.3d 644, 651 (5th Cir. 2012)); see also Frank

v. Xerox Corp., 347 F.3d 130, 137–38 (5th Cir. 2003) (considering plaintiffs’ hostile work

environment claims under Title VII and § 1981 under the same analysis).

        “Harassment generally takes the form of discriminatory intimidation, ridicule, and insult

that rises to the level of hostile or abusive.” Ayorinde v. Team Indus. Servs. Inc., 121 F.4th 500, 509

(5th Cir. 2024) (quotations omitted). The harassment “must be sufficiently severe or pervasive such

that it alters the conditions of the victim’s employment and creates an abusive environment” that is

“objectively and subjectively hostile to the victim of racial discrimination.” Id.

        Gunn fails to allege a hostile work environment. Gunn alleges that “there was a constant

undertone that he was not considered an ‘equal’ partner” because he lacked a CPA certification,

that his peers and supervisors challenged him and doubted his abilities and credentials “based on

his race,” and that Defendants’ staff “changed drastically and became hostile” towards him,

“including insubordination and refusal to follow his directives.” Doc. 18, Am. Compl., ¶¶ 19, 24,

43. In his Response, he argues that Defendants allowed this hostile environment, which was created

because of Gunn’s race, by promoting him later than his white counterparts, placing him on a

probationary period that his white counterparts were not placed on, not affording him the same

authority as white practice leaders, and challenging him. Doc. 22, Pl.’s Resp., 11–12 (citing

Amended Complaint).




                                                  -13-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25       Page 14 of 23       PageID 225



        These claims fail to allege conduct that is sufficiently severe, pervasive, or frequent to

constitute a hostile work environment. See France v. Lockheed Martin Corp., No. 4:18-CV-317-Y, 2018

WL 10561526, at *4 (N.D. Tex. Oct. 10, 2018) (Means, J.) (dismissing a hostile work environment

claim that alleged general “hostility and contempt” towards plaintiff and one racially derogatory

remark made by a co-worker). Furthermore, as discussed in the previous section, Gunn failed to

offer any facts alleging that the conduct occurred because of Gunn’s race. See id. Therefore, Gunn’s

fifth claim is DISMISSED without prejudice. See Schiller v. Physicians Res. Grp. Inc., 342 F.3d 563,

566 (5th Cir. 2003).

D.      Gunn Plausibly Alleges Retaliation Under § 1981.

        Next, the Court denies the Motion to Dismiss Gunn’s sixth claim for retaliation under

§ 1981. “To assert a successful § 1981 retaliation claim, [Gunn] must show (1) that [he] engaged in

activities protected by § 1981; (2) that an adverse action followed; and (3) a causal connection

between the protected activities and the adverse action.” White Glove Staffing, Inc. v. Methodist Hosps.

of Dall., 947 F.3d 301, 308 (5th Cir. 2020). A protected activity includes “oppos[ing] any practice

made unlawful by [Title VII].” Scott v. U.S. Bank Nat’l Ass’n, 16 F.4th 1204, 1209 (5th Cir. 2021), as

revised (Nov. 26, 2021) (quoting 42 U.S.C. § 2000e-3(a)). The plaintiff need only reasonably believe

that the practice he opposed is unlawful. Id. at 1210. To result in § 1981 retaliation, an employee’s

opposition “must at least alert an employer to the employee’s reasonable belief that unlawful

discrimination is at issue.” Brown v. United Parcel Serv., Inc., 406 F. App’x 837, 840 (5th Cir. 2010).

        Gunn sufficiently alleged a retaliation claim under § 1981. Gunn’s complaint about possible

SEC non-compliance is not a protected activity under § 1981. See 42 U.S.C. § 12203(a) (prohibiting

discrimination because an employee “opposed any act or practice made unlawful by this chapter,”


                                                  -14-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25       Page 15 of 23       PageID 226



which does not protect seeking promotions or reporting SEC violations). But Gunn also alleges that

he complained to LGT CPA’s managing partner “of senior partners of Defendants transferring their

books of business to inexperienced white junior advisors, and the harassing and/or insubordinate

treatment by his staff;” that “he was being treated differently than his counterparts;” and that the

managing partner knew that all of Gunn’s counterparts were white and Gunn was Black. Doc. 18,

Am. Compl., ¶ 38. Although the question is close, the Court finds that Gunn alleges a protected

activity because he reasonably believed that his employer engaged in an unlawful act and complained

of the act. See Scott, 16 F.4th at 1210. To determine “whether an employee’s belief that his employer

engaged in an unlawful act was reasonable, the question is whether a person, not instructed on Title

VII law as a jury would be, could reasonably believe that she was providing information about a Title

VII violation.” Id. at 1211 (quotations omitted).

        Even if Gunn’s claims to his employers would not survive a motion to dismiss a

discrimination claim, a person without instructions on Title VII law would likely believe that Gunn

raised a possible Title VII violation to his employer. Gunn complained that white junior employees

received clients that he had managed, and he alleges Defendants know he is Black. Doc. 18, Am.

Compl., ¶ 38. And he complained that this resulted in harassment and insubordination towards

him, and that he, whom Defendants know is Black, was subject to different treatment than his white

counterparts, whom the manager knew were all white. Id. Absent instructions on the law, the Court

finds it is reasonable, even if incorrect, for Gunn to believe at the time that this could violate Title

VII. Defendants argue that Gunn never complained that any of the treatment he complained of was

because of his race. See Doc. 20, Def.’s Br., 9. But Gunn alleges that he mentioned the transfer of




                                                    -15-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25        Page 16 of 23       PageID 227



clients to younger, white employees. Doc. 18, Am. Compl., ¶ 38. Therefore, the Court finds Gunn

reasonably believed that he complained of a Title VII violation.

        Gunn also sufficiently alleged an adverse employment action was taken against him because

of his protected activity. Gunn alleges that after he complained on June 27 and July 7, 2022, he was

fired on September 29, 2022. Id. ¶¶ 38, 45 n.2. His termination was an adverse employment action

and took place slightly over two-and-a-half months after his complaint. The Fifth Circuit has “held

that a period of two-and-a-half months,” is “close enough to show a causal connection.” Brown v.

Wal-Mart Stores E., L.P., 969 F.3d 571, 578 (5th Cir. 2020), as revised (Aug. 14, 2020). The Court

finds that five days more than two-and-a-half months is sufficient. Accordingly, the Court DENIES

Defendants’ Motion to dismiss Gunn’s sixth claim for § 1981 retaliation.

E.      Gunn Plausibly Alleges a Declaratory Judgment Claim.

        Next, the Court finds Gunn plausibly alleged his seventh claim for declaratory judgment.

Gunn seeks a declaration that he maintains a ten percent membership interest in LGT FA and is

not subject to an agreement that would dispose of this interest upon his termination. Doc. 18, Am.

Compl., ¶ 84. In deciding whether to dismiss a declaratory judgment claim, courts must determine:

“(1) whether the declaratory action is justiciable; (2) whether the court has the authority to grant

declaratory relief; and (3) whether to exercise its discretion to decide or dismiss the action.” Sherwin-

Williams Co. v. Holmes Cnty., 343 F.3d 383, 387 (5th Cir. 2003).

        1.      Gunn’s Declaratory Judgment Claim Is Justiciable.

        First, Gunn’s declaratory judgment claim is justiciable. To plead a justiciable declaratory

judgment action, plaintiffs must allege an “actual controversy exists between the parties.” Orix Credit

All., Inc. v. Wolfe, 212 F.3d 891, 895 (5th Cir. 2000). The “actual controversy” requirement is the


                                                  -16-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25        Page 17 of 23       PageID 228



same as the requirement that a plaintiff plead a “case or controversy” to establish standing under

Article III of the Constitution. See id. at 896. “In order to demonstrate that a case or controversy

exists to meet the Article III standing requirement when a plaintiff is seeking injunctive or

declaratory relief, a plaintiff must allege facts from which it appears there is a substantial likelihood

that he will suffer injury in the future.” Waller v. Hanlon, 922 F.3d 590, 603 (5th Cir. 2019) (quoting

Bauer v. Texas, 341 F.3d 352, 358 (5th Cir. 2003)). But declaratory relief for past wrongs is also

possible, if a plaintiff “demonstrate[s] either continuing harm or a real and immediate threat of

repeated injury in the future.” Id.

        Gunn presents an actual case or controversy. Gunn’s eighth claim asserts that Defendants

breached the Member Agreement by failing to pay Gunn ten percent of LGT FA’s net profits and

later taking Gunn’s ten percent membership interest when he left the company. Doc. 18, Am.

Compl., ¶¶ 46, 87. Defendants have appeared to dispute these claims. See Doc. 19, Mot., 2. The

Court thus finds an actual case or controversy exists on Gunn’s eighth claim. Even though the wrong

that Gunn alleges happened in the past, he alleges a continuing harm because, assuming that

Defendants wrongfully took his ten percent ownership, Gunn would be continuing to lose the ten

percent net profits to which he is entitled. Doc. 18, Am. Compl., ¶¶ 56, 58, 82.

        2.      The Court Has Authority to Grant Relief.

        Next, Gunn plausibly alleges that the Court has authority to grant him declaratory relief.

The Fifth Circuit has found a district court had such authority when it had subject-matter

jurisdiction over the case “and the Anti-Injunction Act did not apply.” Sherwin-Williams Co. 343 F.3d

at 387. As the Court will discuss below, the Court has subject-matter jurisdiction over Gunn’s

contract claims. And the Court finds no reason that the Anti-Injunction Act applies. Thus, the



                                                  -17-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25        Page 18 of 23       PageID 229



Court has authority to grant relief.

        3.      The Court Finds It Appropriate to Exercise Jurisdiction Over Gunn’s Claim.

        Finally, it is appropriate for the Court to exercise jurisdiction over Gunn’s declaratory

judgment claim. While the Fifth Circuit has adopted seven nonexclusive factors to determine

whether the court should accept or decline jurisdiction over a declaratory judgment suit, these

factors encompass three major questions. See Sherwin-Williams Co., 343 F.3d at 390. These questions

include the proper allocation of decision-making between state and federal courts, fairness, and

efficiency. Id. at 390–91.

        Here, the Court is unaware of any related pending state court actions, and the Court is

exercising jurisdiction over Gunn’s state claims. Therefore, accepting jurisdiction over Gunn’s

declaratory judgment claim does not offend the proper allocation of decision-making between state

and federal courts. See id. Fairness also supports the Court’s jurisdiction here because Gunn brought

his declaratory judgment claim not to engage in forum shopping or procedural fencing, but because

it is related to other related claims over which the Court has jurisdiction. See id. at 390. And because

of Gunn’s multiple, related claims before this Court, efficiency supports the Court’s exercise of

jurisdiction. See id. Therefore, the Court finds it appropriate to exercise jurisdiction over Gunn’s

declaratory judgment claim and DENIES Defendants’ Motion as to Gunn’s seventh claim.

F.      The Court Grants in Part and Denies in Part Defendants’ Motion to Dismiss Gunn’s Contract Claims.

        The Court denies Defendants’ Motion to Dismiss count eight and grants their Motion to

Dismiss count nine. Courts have discretion to exercise jurisdiction over state law claims if “(1) federal

question jurisdiction is proper, and (2) the state-law claims derive from a common nucleus of

operative facts.” Arena v. Graybar Elec. Co., 669 F.3d 214, 221 (5th Cir. 2012). Defendants do not


                                                  -18-
Case 3:23-cv-02635-B           Document 24         Filed 01/22/25         Page 19 of 23        PageID 230



argue that the Court lacks jurisdiction over Gunn’s state law contract claims. 5 See Doc. 20, Defs.’

Br., 11–13. Nor do they contend that federal question jurisdiction over Gunn’s federal claims is

improper. Therefore, because the events giving rise to the state contract and federal claims spanned

the same relationship and period of time, the Court finds it proper to exercise jurisdiction here. See

Bella v. Davis, 531 F. App’x 457, 459 (5th Cir. 2013).

        Gunn brings two contract claims under Texas law. To plead a Texas breach of contract claim,

a plaintiff must allege: “(1) a valid contract, (2) plaintiff’s performance, (3) defendant’s breach, and

(4) resulting damages.” Taylor v. Root Ins. Co., 109 F.4th 806, 809 (5th Cir. 2024) (quotations

omitted). And to show that a valid contract existed, “the plaintiff must show: ‘(1) an offer was made;

(2) the other party accepted . . . ; (3) the parties had a meeting of the minds . . . ; (4) each party

consented . . . ; and (5) the parties executed and delivered the contract with the intent that it be

mutual and binding.’” Box v. PetroTel, Inc., 33 F.4th 195, 202 (5th Cir. 2022) (quoting USAA Tex.

Lloyds Co. v. Menchaca, 545 S.W.3d 479, 502 n.21 (Tex. 2018)).

        1.      Gunn Plausibly Alleges a Breach of Contract Claim in Count Eight.

        First, Gunn’s eighth claim plausibly alleges a breach of contract. Gunn alleges a valid

contract—an element Defendants do not dispute. Gunn alleges that he was a ten percent member of

LGT FA and that LGT FA’s Member Agreement reflected his ten percent membership, which

entitled him to ten percent of the net profits. Doc. 18, Am. Compl., ¶ 46; see also TEX. BUS. ORGS.

§ 101.052(1). He alleges that the Member Agreement governs LGT FA, and as a member of LGT

FA, he is a party to the Member Agreement. Doc. 18, Am. Compl., ¶¶ 46, 51, 86. Next, he alleges


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           Defendants argue that the Court would lack jurisdiction over Gunn’s state law claims if his federal
claims were dismissed. Doc. 23, Reply, 7. This is not at issue because federal claims remain, and the Court
could exercise supplemental jurisdiction in any event. See GlobeRanger Corp. v. Software AG United States of
Am., Inc., 836 F.3d 477, 491 (5th Cir. 2016).

                                                     -19-
Case 3:23-cv-02635-B         Document 24       Filed 01/22/25       Page 20 of 23       PageID 231



he performed under the contract because he continued working as a member of LGT FA. See id.

¶¶ 46, 88. And he contends Defendants breached because they (1) failed to pay him ten percent of

the net profits of LGT FA from 2016 through 2022 and (2) took his ten percent membership

interest, for which the Member Agreement did not provide. Id. ¶¶ 46, 49, 87. Finally, he claims he

has suffered damages of the value of his ten percent membership interest and estimates his losses.

Id. ¶¶ 49, 89.

       Defendants argue that Gunn has failed to allege this breach of contract claim because he

himself admits he is not a party to the contract. Doc. 20, Def.’s Br., 18. This argument misconstrues

the Complaint. Gunn alleges only that Article 1 of the Member Agreement does not apply to him

because it allows the company to purchase the membership interests of two specific members,

neither of which are Gunn, for the amount contained in those members’ capital accounts. Doc. 18,

Am. Compl., ¶¶ 52–53. Defendants also argue that Gunn admits that the Member Agreement was

never amended to include him as a party. Doc. 23, Def.’s Reply, 8. But Gunn only says Article 1

does not apply to him because it does not name him, and the Agreement was not amended to change

its application. Doc. 18, Am. Compl., ¶ 55. Therefore, Defendants’ argument fails. Gunn contends

that Article 1 of the Member Agreement does not apply to him, but he alleges that he is a party to

the Agreement as a whole. Id. ¶ 86. Accordingly, Defendants’ Motion is DENIED as to Gunn’s

eighth claim.

       2.        Gunn Plausibly Alleges a Contract Claim in Count Nine.

       Second, Gunn’s ninth claim plausibly alleges a breach of contract. Gunn alleges two

potential agreements in which he was to have some form of a right to 50 percent of LGT FA. In the

first alleged agreement, Gunn contends that he sought to buy an additional 40 percent share of LGT



                                                -20-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25        Page 21 of 23       PageID 232



FA, which would give him a total of 50 percent ownership in LGT FA. Id. ¶¶ 29, 31. In the second

alleged agreement, Gunn claims that he and LGT FA “reached an agreement” under which his

compensation would include 50 percent of LGT FA’s net profits. Id. ¶¶ 47–48. Gunn’s claim as to

the first agreement is dismissed without prejudice. See Jacobsen, 133 F.3d at 318. His claim as to the

second agreement survives.

                i.      Gunn Fails to State a Claim as to His First Alleged Agreement.

        Gunn fails to allege that his first alleged agreement—to purchase 50 percent of LGT FA—was

a valid contract. Gunn discusses the proposal he made but never alleges that Defendants agreed. See

Doc. 18, Am. Compl., ¶¶ 27–29, 31, 33–34. Gunn’s proposal ended, he alleges, by being rejected.

Id. ¶¶ 33–34. He contends that Defendants agreed to submit Gunn’s equity purchase to a vote of

the equity partners. Id. ¶ 31. But agreeing to potentially agree, without a final assent, is not a valid

contract. See Crisp Analytical Lab, L.L.C. v. Jakalam Props., Ltd., 422 S.W.3d 85, 89 (Tex. App. —Dall.

[5th Dist.] 2014, pet. denied) (citing Fort Worth Indep. Sch. Dist. v. City of Fort Worth, 22 S.W.3d 831,

847 (Tex. 2000)). Accordingly, Gunn’s contract claim as to this alleged agreement is dismissed

without prejudice. See Schiller, 342 F.3d at 566.

                ii.     Gunn’s Claim as to His Second Alleged Agreement Survives.

        Gunn’s second alleged agreement survives. Gunn claims that he and LGT FA established a

written agreement—memorialized in emails—entitling him to 50 percent of LGT FA’s net profits as

compensation. Doc. 18, Am. Compl., ¶¶ 47–48; see also Villalobos v. Hudson Ins. Co., No. PE:22-CV-

00010-DC-DF, 2022 WL 4594029, at *16 (W.D. Tex. Sept. 29, 2022) (finding the parties’ emails

constituted a contract because they evinced “an intent to be bound and . . . contain[ed] all material

terms”), report and recommendation adopted, No. PE:22-CV-00010-DC, 2022 WL 17816295 (W.D.


                                                    -21-
Case 3:23-cv-02635-B         Document 24         Filed 01/22/25       Page 22 of 23        PageID 233



Tex. Oct. 20, 2022). By alleging that he and LGT FA established a written agreement entitling him

to 50 percent of net profits, Gunn alleges facts sufficient for the Court to draw the reasonable

inference that an offer and acceptance were made, both parties consented, and they intended for it

to bind them. See Box, 33 F.4th at 202.

        Defendants argue that Gunn’s two contract claims regarding some form of a 50 percent

entitlement in LGT FA were the same agreement. See Doc. 23, Reply, 7–8. This is a question of fact

not appropriate at this stage. At this stage, Gunn alleges two separate agreements, see Doc. 18, Am.

Compl., ¶¶ 29, 31, 47–48, at least one of which is plausibly an enforceable contract, and the Court

must accept this well pleaded fact as true. See In re Katrina Canal Breaches Litig., 495 F.3d at 205.

        Gunn plausibly alleges the remaining elements of a breach of contract claim as to the second

alleged agreement. He alleges that he performed under the contract by performing his duties as an

employee of LGT FA. Doc. 18, Am. Compl., ¶ 47. And he claims that “LGT FA failed and refused

to pay [Gunn] 50 percent of the net profits” under their agreement. Id. Furthermore, he provides a

detailed list of damages resulting from Defendants’ alleged breach by listing the amount he was

underpaid in the years during which the agreement would have been effective. Id. ¶ 49. Therefore,

Gunn plausibly alleges a breach of contract claim as to the second agreement.

        Accordingly, the Court GRANTS IN PART and DENIES IN PART Defendants’ Motion

as to Gunn’s ninth claim. The Court GRANTS Defendants’ Motion as to Gunn’s contract claim

for the first alleged agreement, which is DISMISSED without prejudice. See Jacobsen, 133 F.3d at

318. The Court DENIES Defendants’ Motion to dismiss Gunn’s ninth claim as to the second

alleged agreement.




                                                  -22-
Case 3:23-cv-02635-B       Document 24       Filed 01/22/25      Page 23 of 23     PageID 234



                                              IV.

                                       CONCLUSION

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART

Defendants’ Motion to Dismiss (Doc. 19). Defendants’ Motion to Dismiss Gunn’s second and third

claims for a hostile work environment and retaliation under Title VII is GRANTED, and the claims

are DISMISSED WITH PREJUDICE. The Motion to Dismiss Gunn’s first and fourth claims of

racial discrimination and his fifth claim for hostile work environment under § 1981 is GRANTED,

and the claims are DISMISSED WITHOUT PREJUDICE. Finally, the Motion to Dismiss Gunn’s

sixth, seventh, eighth, and ninth claims for retaliation under § 1981, declaratory judgment, and

breach of contract, respectively, is DENIED. Should Gunn elect to file an amended complaint, he

must do so on or before WEDNESDAY, February 12, 2025.

       SO ORDERED.

       SIGNED: January 22, 2025.


                                            _________________________________
                                            JANE J. BOYLE
                                            UNITED STATES DISTRICT JUDGE




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